
699 S.E.2d 922 (2010)
STATE of North Carolina
v.
Barry Dean WALLS.
No. 5P10.
Supreme Court of North Carolina.
June 16, 2010.
Linda B. Weisel, Raleigh, for Barry Dean Walls.
D. Joseph Tanoury, Assistant Attorney General, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant-Appellant on the 7th of January 2010 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 16th of June 2010."
Upon consideration of the petition filed on the 7th of January 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order *923 was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
